     Case 12-19163-btb              Doc 312           Entered 09/12/17 11:46:04                      Page 1 of 14


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                             UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF NEVADA

In re:
SPYROS KOUNTANIS                                                   CASE NO.: BK-S-12-19163 BTB

Debtor.                                                            IN CHAPTER 11 PROCEEDINGS




                        DEBTOR’S PLAN OF REORGANIZATION NO. 4

       In accordance with 11 U.S.C. §1121 and §1106, SPYROS KOUNTANIS (hereinafter
referred to as “Debtor”), by and through his attorney, JOHN A. PIET, ESQ., of the law firm of
PIET & WRIGHT, file this Debtor’s Plan of Reorganization No. 4 (hereinafter referred to as
the “Plan”).

        This Plan under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et
seq. (the “Bankruptcy Code”) proposes to pay creditors of the Debtor from the reorganization
of his residential property and secured debt.

                                         TABLE OF CONTENTS
    I.     Definitions ...................................................................................................... 2

    II.    Classes of Creditors and Specific Treatment of Claims ................................... 4

           A.     Unclassified Claims ................................................................................. 4

           B.     Classified Claims..................................................................................... 5

    III.   Means for Implementation of the Plan ............................................................. 7

    IV.    Effect of Confirmation .................................................................................... 9

    V.     Miscellaneous Provisions ................................................................................ 10




                                                               1
    Case 12-19163-btb       Doc 312      Entered 09/12/17 11:46:04       Page 2 of 14


                                            I.
                                       DEFINITIONS

       The following terms, when used in the Plan, shall unless the context otherwise requires,
have the following meanings, respectively:

        1.    "Administrative Expense Claim" shall mean any claim allowed under Section
503 of the Bankruptcy Code.

       2.     "Business Day" shall mean any day other than Saturday, Sunday, a legal
holiday or a day on which national banking institutions in Nevada are authorized or obligated
by law or executive order to close.

       3.     "Claim" shall mean the right to payment, whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, legal, equitable, secured, or unsecured; or the right to an equitable remedy for
breach of performance if such breach gives rise to a right to payment, whether or not such right
to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
disputed, undisputed, secured, or unsecured. 11 U.S.C. § 101(5).

        4.      "Confirmation" shall mean that after the Court conducts a hearing to determine
if the Plan meets the requirements of 11 U.S.C. § 1129, and upon a finding of compliance with
the applicable codes and provisions, the Court will enter an order confirming the Plan. The
effect of plan confirmation is defined in 11 U.S.C. § 1141.

       5.     "Confirmation Date" shall mean the date the Court enters the Order
confirming the Plan.

        6.    "Court" shall mean the United States Bankruptcy Court for the District of
Nevada, including the Bankruptcy Judge presiding in the Chapter 11 case of the Debtor.

        7.     "Creditors" shall be defined pursuant to 11 U.S.C. § 101(10) of the Bankruptcy
Code.

        8.     "Debtor" shall mean SPYROS KOUNTANIS.

       9.      "Discharge" shall mean that Debtor shall seek entry of an order by the
Bankruptcy Court granting Debtor’s discharge of debts provided for in the plan (i) on
completion of all payments under the plan or (ii) (a) the Bankruptcy Court otherwise grants the
discharge for cause after notice and hearing, or (b) the Debtor is granted a discharge made
available under section 1141(d)(5)(B) of the Bankruptcy Code by order of the Bankruptcy
Court after notice and hearing.

       10.    "Disputed Claim" shall mean that a party in interest has objected to a creditor’s
claim pursuant to 11 U.S.C. § 502.

        11.     "Distribution Date" shall mean the date designated by the Plan on which
distribution of payment to Allowed Unsecured Claims shall commence.

        12.    "Effective Date" shall mean the date the Court enters an order confirming the

                                               2
    Case 12-19163-btb        Doc 312     Entered 09/12/17 11:46:04        Page 3 of 14


Plan.

       13.     "Final Decree" A final decree closing the case may be entered after the estate
has been “fully administered” pursuant to Fed. R. Bankr. P. 3002 and local rules. Debtor may
seek entry of a final decree and order closing Debtor’s bankruptcy case prior to entry of the
discharge; but, any such entry of an final decree and/or order closing Debtor’s case prior to
completion of all plan payments shall not have the effect, and is not intended to have the effect,
of granting Debtor’s discharge absent compliance with the application provisions of the
Bankruptcy Code (including section 1141(d)(5)), Federal Rules of Bankruptcy Procedure,
Local Rules and any applicable administrative or general orders governing bankruptcy practice
and procedure in this District.

       14.     "Final Order" shall mean an order of the Court which, not having been
reversed, modified or amended and not being stayed, and the time to appeal from which or to
seek review or rehearing of which having expired, has become conclusive of all matters
adjudicated thereby and is in full force and effect.

        15.     "Lien" shall mean a charge against or interest in property to secure payment of
a debt or performance of an obligation, or a judicial lien obtained by judgment, levy,
sequestration, or other legal or equitable process or proceeding effective under applicable law
as of the date of the commencement of the reorganization case.

        16.    "Plan" shall mean this Plan of Reorganization in its present form.

        17.    "Priority Claim" shall mean those allowed claims which are entitled to the
priority provided for under §507(a) of the Bankruptcy Code.

         18.     "Pro Rata Share" shall mean the amount which is the result of multiplying the
monies available for distribution to a named class of creditors by that fraction in which the
numerator is the allowed amount of a particular claim in the named class and the denominator
is the total of the amounts of all the claims in the named class.

        19.    "Reorganized Debtor" shall mean the status of the Debtor after the Court
enters an Order confirming the Plan.

        20.    "Secured Claim" shall mean the claim of any creditor secured by liens on
property, which liens are valid, perfected, and enforceable under applicable law, and are not
subject to avoidance under the Bankruptcy Code or other applicable non-bankruptcy law, and
are duly established in this case, to the extent of the value of the security, as determined in
accordance with §506 of the Bankruptcy Code.

        21.    "Tax Claim" shall mean a claim described in 11 U.S.C. §507(a)(8) together
with all accrued interest and penalties.

       22.    "Unsecured Claims" shall mean all claimants of any nature, holding claims for
unsecured debts, liabilities, demands or claims of any character whatsoever.

        23.    "Unsecured Creditor" shall mean the holder of an unsecured claim.



                                                3
    Case 12-19163-btb        Doc 312      Entered 09/12/17 11:46:04        Page 4 of 14


                                 II.
       CLASSES OF CREDITORS AND SPECIFIC TREATMENT OF CLAIMS

        This Plan constitutes the Chapter 11 plan of reorganization of the Debtor. All Claims
against the Debtor are placed in classes (each a “Class”) as designated by Classes 1 through 9.
In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtor has not classified
Administrative Claims and Priority Tax Claims.

        The categories of Claims (as defined in the Bankruptcy Code), listed below classify
Claims for all purposes, including, without limitation, voting, confirmation and distribution
pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim to
be classified in a particular Class only to the extent that the Claim qualifies within the
description of that Class and shall be deemed classified in a different Class to the extent that
any remainder of such Claim qualifies within the description of such different Class. A Claim
is in a particular Class only to the extent that any such Claim is allowed in that Class and has
not been paid or otherwise settled prior to the effective date of the Plan.

                              A.      Unclassified Claims

       Certain types of claims are automatically entitled to specific treatment under the Code.
They are not considered impaired, and holders of such claims do not vote on the Plan. They
may, however, object if, in their view, their treatment under the Plan does not comply with that
required by the Code.

Administrative Expense Claims

        In accordance with § 1123(a)(1) of the Bankruptcy Code, administrative expense claims
are not in classes. Each holder of an administrative expense claim allowed under Section 503
of the Bankruptcy Code will be paid in full on the effective date of this Plan, in cash, through
the Debtor’s monthly plan payments, or upon such other terms as may be agreed upon by the
holder of the claim and the Debtor.

Professional Fees

        Professional fees are unimpaired and are Claims entitled to priority by Section 507(a)(2)
of the Bankruptcy Code and will consist of fees for services rendered and expenses incurred by
the Court appointed Counsel and other professional persons for the Debtor prior to the effective
date of the Plan, as the same are finally approved and allowed by final order of the Court,
pursuant to 11 U.S.C Section 330(a) and 503(b)(2), and any other expenses incurred during the
course of the Chapter 11 proceeding that have not yet been paid. The members of this class
include the law firm of PIET & WRIGHT, Counsel for the Debtor. The anticipated total fees to
be paid in this class are in the range of $30,000.00 to $45,000.00, to the Debtor’s Attorneys,
inclusive of the retainer.

The United States Trustee

        In accordance with the requirements of section 1129(a)(12) and as a condition to
confirmation of the Plan, notwithstanding any other provision in either the Plan or confirmation
order to contrary, Debtor will establish at the hearing on confirmation of the Plan either (a) that
all quarterly U.S. Trustee fees payable under section 1930(a)(6) of title 28 as of the date of the
                                                4
    Case 12-19163-btb        Doc 312      Entered 09/12/17 11:46:04        Page 5 of 14


confirmation hearing have been paid by Debtor, or (b) that all fees payable under section
1930(a)(6) of title 28 as of the effective date of the Plan will be paid by Debtor on the Effective
Date, and Debtor has sufficient unencumbered funds reserved to tender such payment in full.
In accordance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules
and section 1930(a)(6) of title 28, fees under section 1930(a)(6) of title 28 shall continue to
accrue post-confirmation and be paid timely throughout the pendency of this bankruptcy case
by either Debtor or Reorganized Debtor until this case is closed, converted or dismissed.
Debtor shall comply with post-confirmation reporting obligations in connection with the
calculation and payment of fees due under section 1930(a)(6) of title 28.

Priority Tax Claims

        Priority tax claims are unsecured income, employment, and other taxes described by
Section 507(a)(8) of the Bankruptcy Code. Unless the holder of such a Section 507(a)(8)
priority tax claim agrees otherwise, it must receive the present value of such claim, in regular
installments paid over a period not exceeding five (5) years from the order of relief. In
accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtor has classified Priority
Tax Claims.

                                    B. Classified Claims

Secured Claims

        Pursuant to the Bankruptcy Code, Claims which are secured by a lien or other security
interest may be categorized into a secured and an unsecured component. In general, Claims are
Secured Claims to the extent of the value of the collateral that secures the Claims and they are
Unsecured Claims to the extent of any deficiency in the value of the collateral. All payment on
secured claims will be paid based on the value of the property.

       Valuation was achieved through full property appraisals by licensed Nevada Appraiser,
copies of which are available upon request of Debtor’s counsel. Adequate protection orders
entered into on these properties will terminate upon the acceptance of the plan and the regular
payments will commence following plan acceptance.

       Class 1. Class 1 is unimpaired and consists of a secured claim, on the rental property of
the Debtor, located at 2050 Warm Springs Road, #4124, Henderson, NV 89014, as follows:

Secured Creditor                 Method        Term      Interest       Payment        Principal

U.S. Bank, N.A.                 Monthly      30 years     5.375%       $ 587.06+     $115,723.68
                                                                      Escrow

The claim is secured by liens on the Debtor’s real property and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term specified. Class 1
is an unimpaired class, thus the holder of the Class 1 claim is not entitled to vote to accept or
reject the Plan.

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                                                5
    Case 12-19163-btb        Doc 312     Entered 09/12/17 11:46:04        Page 6 of 14


       Class 2. Class 2 is unimpaired and consists of a secured claim, on the rental property of
the Debtor, located at 11233 Piazalle Street, Las Vegas, NV 89141, as follows:

Secured Creditor               Method       Term       Interest      Payment          Principal

Ocwen Loan Servicing          Monthly       40 years 2.0% - 3.59% $526.09+     $173,727.25
                                                                 $247.23 escrow

The claim is secured by liens on the Debtor’s real property and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term specified. Class 2
is an unimpaired class, thus the holder of the Class 2 claim is not entitled to vote to accept or
reject the Plan.

       Class 3. Class 3 is impaired and consists of a secured claim, on the rental property of
the Debtor, located at 5805 Mac Duff Court, Las Vegas, NV 89141, as follows:

Secured Creditor               Method       Term       Interest      Payment          Principal

Wilmington Savings           Monthly     30 years      5.25%       $1,421.92+    $257,500.00
Fund Society, FSB                                                  $ 246.05 escrow
d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage AcquisitionTrust

Wilmington Savings            Monthly      12 months 0.0%            $1,606.70    $19,280.42
Fund Society, FSB (Escrow Shortages)
d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage AcquisitionTrust

The claim is secured by liens on the Debtor’s real property and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term specified per the
Order Approving Stipulation Resolving Motion to Value and Clarifying Plan Treatment,
Docket No. 95, entered September 30, 2013. Class 3 is an impaired class, thus the holder of the
Class 3 claim is entitled to vote to accept or reject the Plan.

       Class 4. Class 4 is impaired and consists of a secured claim, on the rental property of
the Debtor, located at 9345 Thunder Basin, Las Vegas, NV 89149, as follows:

Secured Creditor              Method       Term       Interest      Payment          Principal

U.S. Bank, N.A.               Monthly     2/1/2014-    5.25%        $1,639.41+    $250,000.00
                                          1/1/2035                  $ 296.75 escrow

The claim is secured by liens on the Debtor’s real property and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term specified. As
agreed upon per the stipulation the loan maturity date will be January 1, 2035. Class 4 is an
impaired class, thus the holder of the Class 4 claim is entitled to vote to accept or reject the
Plan.

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                                                6
    Case 12-19163-btb        Doc 312     Entered 09/12/17 11:46:04        Page 7 of 14


       Class 5. Class 5 is impaired and consists of a secured claim, on the rental property of
the Debtor, located 10978 Pentland Downs Street, Las Vegas, Nevada 89141, as follows:

Secured Creditor              Method       Term         Interest    Payment          Principal

Federal National Mortgage     Monthly     10/1/2017-      5.25%     $1,767.05       $320,000.00
                                          9/1/2047

Federal National Mortgage Monthly          10/1/2017-      0.0%     $502.82          $18,101.33
(Escrow Shortage)                         9/1/2020

The claim is secured by liens on the Debtor’s real property and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term. Class 5 is an
impaired class, thus the holder of the Class 5 claim is entitled to vote to accept or reject the
Plan.

       Class 6. Class 6 is impaired and consists of a secured claim, on the rental property of
the Debtor, located 42515 West Bravo Drive, Maricopa, AZ 85238, as follows:

Secured Creditor              Method       Term         Interest    Payment          Principal

SunTrust Mortgage Inc.        Monthly    10/1/2017-      5.00%     $1,744.67+    $325,000.00
                                         9/1/2047                  $ 157.02 escrow

SunTrust Mortgage Inc.       Monthly 10/1/2017-         0.0%        $367.40          $22,043.97
(Escrow Shortages)                   9/1/2022

The claim is secured by liens on the Debtor’s real property and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term specified per the
Stipulation Clarifying Plan Treatment, Docket No. 311, filed September 11, 2017. Class 6 is an
impaired class, thus the holder of the Class 6 claim is entitled to vote to accept or reject the
Plan.

       Class 7. Class 7 is impaired and consists of a priority and secured tax claim, as follows:

Secured Creditor              Method       Term         Interest    Payment          Principal

Internal Revenue Service      Monthly      5 years       3.00%      $455.71          $23,682.19
(Priority claim)

Internal Revenue Service      Monthly     5 years       0.00%       $310.34          $18,620.45
(Secured claim)

The claim is secured by the Debtor’s real property and will be paid monthly upon confirmation
of the Plan and shall continue at the above interest rate and term specified. Class 7 is an
impaired class, thus the holder of the Class 7 claim is entitled to vote to accept or reject the
Plan.

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                                               7
    Case 12-19163-btb          Doc 312     Entered 09/12/17 11:46:04             Page 8 of 14


       Class 8. Class 8 is unimpaired and consists of a agency secured claim, on the Debtor’s
insurance agency, as follows:

Secured Creditor                 Method      Term            Interest       Payment        Principal

Farmer’s Insurance              Monthly      5 years          6.25%         $248.77        $12,790.83

The claim is secured by liens on the Debtor’s insurance agency and will be paid monthly upon
confirmation of the Plan and shall continue at the above interest rate and term specified. Class 8
is an unimpaired class, thus the holder of the Class 8 claim is not entitled to vote to accept or
reject the Plan.

Unsecured Claims

       Pursuant to § 1129(a)(15) of the Code, all Unsecured Claims will be paid an amount
equal in value to the projected disposable income of the Debtor during the five-year period
beginning on the date that the first payment is due under the Plan. The total amount of
unsecured claims is $993,993.51. The Debtor’s projected disposable income each quarter is
$627.87.

        Class 9. Class 9 consists of all general unsecured claims against the Debtor, including
the unsecured portions of the Debtor’s lien holder’s claims. Class 9 creditors shall be paid their
Pro Rata share of $627.87 quarterly over a period of five (5) years beginning in the first year
after the Effective Date of the Plan and continuing for sixty (60) months (twenty (20) quarters)
within the plan period.

        Class 9 is an impaired Class and holders of Class 9 claims are entitled to vote to accept
or reject the Plan. Class 9 claims will be treated as follows:
 Clas s    Claim #             Creditor                 Payment Method & Amount        Claim Amount
                                                        Method   Term    Amount
                     Dis cover Bank
Clas s 9     1       (Acct. ending 2088)                                       $10.41 $16,476.29
                     Wells Fargo Card Services
Clas s 9     2       (Acct. ending 7164)                                       $19.71 $31,207.05
                     Internal Revenue Service
Clas s 9     3       (Acct. ending 1506)                                        $1.69 $2,678.53
                     Wells Fargo Bank, N.A.
Clas s 9     4       (Acct. ending 4179)                                       $22.03 $34,874.61
                     Capital One Bank(USA), N.A.
Clas s 9     5       (Acct. ending 6811)                                        $6.62 $10,476.77
                     U.S. Bank, N.A.
Clas s 9     6       (Acct. ending 2098)                                        $3.13 $4,955.17
                     Wells Fargo Bank, N.A.
Clas s 9     8       (Acct. ending 4222)                Quarterly 5 years     $115.97 $183,586.89
                     Wells Fargo Bank, N.A.
Clas s 9     9       (Acct. ending 1707)                                       $57.14 $90,451.91
                     Bank of America, N.A.
Clas s 9     10      (acct. ending 2178)                                      $149.05 $235,956.41
                     Wells Fargo Bank - Overdraft
Clas s 9     11      (Acct. ending 1506)                                        $1.68 $2,651.78
                     U.S. Bank, N.A.
Clas s 9     13      (Acct. ending 7287)                                      $114.98 $182,032.36
                     Federal National Mortgage
                     ("Fannie Mae")
Clas s 9     14      (Acct. ending 9473)                                       $87.67 $138,786.86
                     SunTrus t Mortgage, Inc.
Clas s 9     15      (Acct. ending 3617)                                       $37.81 $59,858.88
Total                                                                        $627.87    $993,993.51




                                                    8
    Case 12-19163-btb        Doc 312     Entered 09/12/17 11:46:04        Page 9 of 14


                                   III.
                   MEANS FOR IMPLEMENTATION OF THE PLAN

       The Plan sets forth the amount and timing of distributions that are to be made to holders
of Claims. The Debtor’s payments and distributions under the Plan will be funded by his
monthly employment and rental income. The Cash Flow and Feasibility Analysis, attached as
“Exhibit B” to the Disclosure Statement, outlines the Debtor’s sources and uses of income.

        On or about the effective date of the Plan, to the extent necessary, the Debtor shall
retain Piet & Wright, 3654 N. Rancho Drive, Ste. 101, Las Vegas, Nevada 89130 as his
disbursement agent (the “Disbursement Agent”). Upon confirmation, the Debtor shall begin
making monthly distributions to the Disbursement Agent under the Plan. As soon as practical,
the Disbursement Agent shall begin making pro rata payments to the Debtor’s unsecured
creditors holding allowed claims, on a quarterly basis, over the 60 month period. The secured
creditors will be paid directly by the Debtor.

        In no event, shall the Disbursement Agent be held liable for any failures of the Debtor
to make any of the payments required under the Plan. If any holders of allowed claims against
the Debtor’s estate fail to receive payment in accordance with the Plan, the Bankruptcy Court
shall retain jurisdiction to hear and determine all matters related to the implementation of this
Plan and the payments required hereunder.

Distributions to Holders of Disputed Claims

       Except as otherwise provided in the Plan, or upon the entry of a final, non-appealable
order of the Bankruptcy Court, or as agreed to by the relevant parties, distributions under the
Plan on account of a disputed claim that becomes an allowed claim after the effective date of
the Plan shall be begin on the regular quarterly payment date, as established by the
Disbursement Agent, which is at least thirty (30) days after such claim becomes an allowed
claim.

        Notwithstanding anything in the Plan to the contrary, and except as otherwise agreed to
by the relevant parties, no partial payments and no partial distributions shall be made with
respect to a disputed claim until all such disputes in connection with such disputed claim have
been resolved by settlement among the parties or a final order of the Bankruptcy Court. In the
event that there are disputed claims requiring adjudication and resolution, the Disbursement
Agent shall establish appropriate reserves for potential payment of such Claims.

Provisions Governing Distributions

       Subject to Bankruptcy Rule 9010, distributions to holders of Allowed Claims will be
made at the address of each such holder as set forth on the proofs of claim filed by such
holders, or at the last known address of such holder if no proof of claim is filed, or the address
on a written change of address noticed to the Debtor. If any holder's distribution is returned as
undeliverable, no further distributions to such holder will be made unless and until the
Reorganized Debtor are notified pursuant to 11 U.S.C. § 342(c), at which time all currently due
missed distributions shall be made to such holder on the next periodic distribution date.
Undeliverable distributions shall remain in the possession of the Debtor, until such time as any
such distributions become deliverable. Undeliverable distributions shall not be entitled to any
additional interest, dividends or other accruals of any kind on account of their distribution
                                                9
    Case 12-19163-btb       Doc 312      Entered 09/12/17 11:46:04        Page 10 of 14


being undeliverable.

        No later than 210 days after the Effective Date, the Debtor shall file with the
Bankruptcy Court a list of the holders of undeliverable distributions. This list shall be
maintained and updated periodically in the sole discretion of the Debtor for as long as the
Chapter 11 Case stays open. Any holder of an Allowed Claim, irrespective of when a Claim
becomes an Allowed Claim, that does not notify the Debtor of such holder’s then current
address in accordance herewith within the latest of (i) one year after the Effective Date, (ii) 60
days after the attempted delivery of the undeliverable distribution and (iii) 180 days after the
date such Claim becomes an Allowed Claim, shall have its Claim for such undeliverable
distribution discharged and shall be forever barred, estopped and enjoined from asserting any
such Claim against the Debtor or her property. In such cases, (i) any Cash or Equity Interest
held for distribution on account of Allowed Claims shall be redistributed to holders of Allowed
Claims in the applicable Class on the next periodic distribution date and (ii) any cash held for
distribution to other creditors shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and become property of the Debtor, free of any Claims of such holder with
respect thereto. Nothing contained in the Plan shall require the Debtor to attempt to locate any
holder of an Allowed Claim.

       Checks issued in respect of Allowed Claims will be null and void if not negotiated
within 180 days after the issuance of such check. In an effort to ensure that all holders of
Allowed Claims receive their allocated distributions, no later than 180 days after the issuance
of such checks, the Debtor shall file with the Bankruptcy Court a list of the holders of any un-
negotiated checks. This list shall be maintained and updated periodically in the sole discretion
of the Debtor for as long as the Chapter 11 Case stays open. Requests for reissuance of any
check shall be made directly to the Distribution Agent by the holder of the relevant Allowed
Claim with respect to which such check originally was issued. Any holder of an Allowed
Claim holding an un-negotiated check that does not request reissuance of such un-negotiated
check within 240 days after the date of mailing or other delivery of such check shall have its
Claim for such un-negotiated check discharged and be discharged and forever barred, estopped
and enjoined from asserting any such Claim against the Debtor or her property. In such cases,
any Cash held for payment on account of such Claims shall be property of the Debtor, free of
any Claims of such holder with respect thereto. Nothing contained in the Plan shall require the
Debtor to attempt to locate any holder of an Allowed Claim.

Employment of Professionals and Experts

        The Reorganized Debtor may, but shall not be required to, consult with attorneys,
accountants, appraisers, brokers or other parties necessary to assist in the proper administration
of this Plan and the affairs of the Reorganized Debtor. The Reorganized Debtor may select and
employ such persons without Bankruptcy Court review or approval.

Records

      The Reorganized Debtor shall maintain books and records relating to the affairs of the
Reorganized Debtor, and all expenses incurred by or on behalf of the Reorganized Debtor. The
Reorganized Debtor shall also maintain records relating to all distributions either required to be
made or effectuated under this Plan.


                                               10
    Case 12-19163-btb       Doc 312      Entered 09/12/17 11:46:04        Page 11 of 14


                                          IV.
                               EFFECT OF CONFIRMATION

Binding Provisions

        Pursuant to § 1141(a) of the Code, the provisions of the Debtor’s Confirmed Plan will
bind the Debtor, any entity issuing securities under the Plan, any entity acquiring property
under the Plan, and any creditor or equity security holder of the Debtor, whether or not the
claim or interest of such creditor, equity security holder is impaired under the Plan and whether
or not such creditor, equity security holder has accepted the plan.

Vesting of Property of the Estate in the Reorganized Debtor

        Pursuant to 11 U.S.C. § 1141, on the Effective Date of the Plan, all property of the
Debtor shall vest in the Reorganized Debtor, free and clear of liens, claims, interests and
encumbrances arising on or before the Effective Date, except those provided in the order
approving the Motion to Value, the Plan, or the Confirmation Order. The existing liens and
lien rights of those lenders holding claims in Classes 1 through 8 are expressly preserved under
the Plan, and their existing liens shall ride through and remain attached to any and all
underlying collateral in any transfer of property expressly set forth in, or contemplated by, the
Plan.

       The reorganized Debtor may operate the rental property and may use, acquire, or dispose
of property and compromise or settle any claims without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules,
other than those restrictions expressly imposed by the Plan and the confirmation order. Without
limiting the foregoing, the Debtor shall pay the charges that he incurs after confirmation for
professionals’ fees, disbursements, expenses or related support services (including reasonable
fees relating to the preparation of professional fee applications) without application to the
Bankruptcy Court.

Modification of Plan

       Pursuant to 11 USC § 1127(e), the plan may be modified at any time after confirmation
of the plan but before the completion of payments under the plan, whether or not the plan has
been substantially consummated, upon request of the Debtor, the trustee, the United States
trustee, or the holder of an allowed unsecured claim, to (1) increase or reduce the amount of
payments on claims of a particular class provided for by the plan; (2) extend or reduce the time
period for such payments; or (3) alter the amount of the distribution to a creditor whose claim is
provided for by the plan to the extent necessary to take account of any payment of such claim
made other than under the plan.

        Further, pursuant to 11 USC § 1127(f), the plan, as modified, shall become the plan only
after there has been disclosure under section 1125 as the court may direct, notice and a hearing,
and such modification is approved.

Final Decree

       Once the estate has been fully administered, as provided by 11 U.S.C. § 350 and Rule

                                               11
    Case 12-19163-btb        Doc 312     Entered 09/12/17 11:46:04        Page 12 of 14


3022 of the Federal Rules of Bankruptcy Procedure, the court, on its own motion or on motion
of a party in interest, shall enter a final decree closing the case.

Discharge

       Confirmation of this Plan does not discharge any debt provided for in this Plan until the
court grants a discharge on completion of all payments to unsecured creditors under this Plan,
which is five (5) years or twenty (20) quarterly payments, or as otherwise provided in §
1141(d)(5) of the Code. The Debtor will not be discharged from any debt excepted from
discharge under §523 of the code, except as provided in Rule 4007(c) of the Federal Rules of
Bankruptcy Procedure.

Retention of Jurisdiction

        The Bankruptcy Court retains limited jurisdiction over a confirmed chapter 11 case.
This jurisdiction derives both from the general powers of courts to enforce their decrees
pursuant to 11 U.S.C. § 105(a), as well as specific sections of the Bankruptcy Code relating to
plan implementation and execution. These sections include 11 U.S.C. § 1112, allowing for
conversion or dismissal after confirmation; § 1127; allowing for plan modification after
confirmation; § 1142, allowing for plan enforcement post-confirmation; and § 1144, allowing
for revocation of confirmation.

                                        V.
                             MISCELLANEOUS PROVISIONS

Exemption from Certain Transfer Taxes

       Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant
to the Plan shall not be subject to any stamp tax or other similar tax or governmental
assessment in the United States, and the confirmation order shall direct the appropriate state or
local governmental officials or agents to forgo the collection of any such tax or governmental
assessment and to accept for filing and recordation instruments or other documents pursuant to
such transfers of property without the payment of any such tax or governmental assessment.

Successors and Assigns

       The rights, benefits and obligations of any entity named or referred to herein shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or
assign of such entity.

Reservation of Rights

       Except as expressly set forth herein, the Plan shall have no force or effect until the Court
enters the confirmation order. Neither the filing of the Plan, any statement or provision
contained in the Disclosure Statement, nor the taking of any action by the Debtor or any other
entity with respect to the Plan shall be or shall be deemed to be an admission or waiver of any
rights of: (1) any Debtor with respect to the holders of claims or other entity; or (2) any holder
of a Claim or other entity prior to the effective date of the Plan.


                                                12
    Case 12-19163-btb        Doc 312     Entered 09/12/17 11:46:04         Page 13 of 14


Further Assurances

       The Debtor or the reorganized Debtor, as applicable, all holders of Claims receiving
distributions under the Plan and all other entities shall, from time to time, prepare, execute and
deliver any agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the Plan or the confirmation order.

Severability

       If, prior to confirmation of the Plan, any term or provision of the Plan is held by the
Court to be invalid, void or unenforceable, the Court shall have the power to alter and interpret
such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or
unenforceable, and such term or provision then will be applicable as altered or interpreted,
provided that any such alteration or interpretation must be in form and substance reasonably
acceptable to the Debtor, and, to the extent such alteration or interpretation affects the rights or
treatment of holders of general unsecured claims, such claim holder.

Filing of Additional Documentation

      On or before the Effective Date, the Debtor may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of this Plan.

Notices

        Any notices required to be given under this Plan shall be made pursuant to 11 U.S.C. §
342(c). Any notice that is allowed or required hereunder except for a notice of change of
address shall be considered complete on the earlier of (a) three days following the date the
notice is sent by United States mail, postage prepaid, or by overnight courier service, or in the
case of mailing to a non-United States address, air mail, postage prepaid, or personally
delivered; or (b) the date the notice is actually received. Notices shall be sent to:

The Debtor or Reorganized Debtor, at:

       SPYROS KOUNTANIS
       3087 Paseo Mountain Avenue
       Henderson, NV 89052

       John A. Piet, Esq.
       PIET LAW GROUP
       3654 N. Rancho Drive, Ste. 101
       Las Vegas, Nevada 89130

The U.S. Trustee, at:

       United States Trustee's Office
       300 Las Vegas Boulevard South
       Las Vegas, Nevada 89101


                                                13
    Case 12-19163-btb       Doc 312     Entered 09/12/17 11:46:04       Page 14 of 14


        Any Creditor in its capacity as such, at its address or facsimile number as reflected on
its proof of claim or Notice of Appearance, if any.

       Respectfully submitted on September 11, 2017.

                                                    /s/ John A. Piet, Esq.
                                                    John A. Piet, Esq.
                                                    Piet Law Group
                                                    3654 North Rancho Drive, Ste. 101, Las
                                                    Vegas, Nevada 89130
                                                    Phone: 702-566-1212
                                                    Fax: 702-566-4833
                                                    Attorney for the Debtor




                                              14
